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                          UNITED STATES DISTRICT COURT
                          SO UTHERN DISTRICT O F FLO RIDA

                           Case No.11-62607-CV-W ILLlAM S


  W ILLIAM TAYLO R,

        Plaintiff,

  VS.

  EM ERALD THAI,INC.and ARREL
  ENTERPRISES,INC.,

        Defendants.
                             /

                                         O RDER
        THIS M ATTER is before the Coud on a sua sponte review ofthe record. It is

  hereby O RDERED AND ADJUDG ED asfollows:
                      In light of Plaintiff's notice of settlem ent with Defendant Em erald

                      Thai, Inc. (DE 20), its motion for default judgment (DE 16) is
                      DENIED AS M O OT. O n orbefore April6,2012,Plaintiffshallfile a

                      jointstatus reportwi
                                         th the Courtadvising the Courtofthe status of
                      the settlem ent. In lieu of a report,the parties m ay file a Joint

                      Stipulation to Dismisswith Prejudice.
        (2)           Plaintiff's proposed consent decree (DE 17) is APPROVED.
                      Defendant Arrel Enterprises, Inc. is hereby DISM ISSED W ITH

                      PREJUDICE. The Coud retainsjurisdiction to enforce the consent
                      decree.

        (3)           The Coud hereby VACATES its orders ofreference (DE 18,DE

                      19).
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          DONE AND O RDERED in cham bers in M iam i,Florida,this 19th day of M arch,

  2012.




                                              KATHLEE M .W ILLIAM S
                                              UNITED S ATES DISTRICT JUDG E

  cc:     CounselofRecord
